      Case 2:13-cr-00016-MPB-CMM                           Document 558               Filed 05/19/16          Page 1 of 2 PageID #:
                                                                 1966
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                             Kelley Kelly                                  )
                                                                           )    Case No: 2:13CR00016-004
                                                                           )    USM No: 11291-028
Date of Original Judgment:                            07/29/2014           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Kelly was sentenced as a career offender (§4B1.1), and Amendment 782 did not lower the offense levels
    corresponding to career offenders.


                                                                                                             A CERTIFIED TRUE COPY
                                                                                                             Laura A. Briggs, Clerk
                                                                                                             U.S. District Court
                                                                                                             Southern District of Indiana

                                                                                                             By
                                                                                                                                   Deputy Clerk




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.

Order Date:             5/19/2016
                                                                                         ________________________________
Effective Date:                                                                          LARRY J. McKINNEY, JUDGE
                     (if different from order date)                                      United States District Court
                                                                                         Southern District of Indiana
Case 2:13-cr-00016-MPB-CMM   Document 558   Filed 05/19/16   Page 2 of 2 PageID #:
                                   1967


Distribution:

Winfield D. Ong
UNITED STATES ATTORNEY'S OFFICE
winfield.ong@usdoj.gov

Kelley Kelly
Reg. No. 11291-028
FCI Elkton, Unit FB
P.O. Box 10
Liston, OH 44432
